Case 2:04-cr-20476-SH|\/| Document 109 Filed 07/08/05 Page 1 of 2 Page|D 304

IN THE UNITED STATES DISTRICT COURT Fll£° M'“" D'o‘
FOR THE WESTERN DISTRICT OF TENNESSEE FH w \2
WESTERN DIVISION 05 JUL "3
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,,, u.s.nST%CTM
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UNITED STATES OF AMERICA,
sk
Plaimiff,
*
vs. No. 04-20476-D
*
JOHN D. vAUGHAN,
APRLL VEACH, *
Defendants. - *

ORDER GRANTING GOVERNMENT'S MOTION
TO CONTINUE SENTENCING

lt is hereby ORDERED that the Government's motion to continue the sentencing of
defendant JOHN D. VAUGHAN, currently set for July 25, 2005, and the sentencing of defendant
APRIL VEACH, currently set for July 20, 2005, is hereby GRANTED. The sentencing of
defendant JOHN D. VAUGHAN is hereby reset to ._ S_,SL.»“, 2005, at _\§O_?Mrhe
sentencing of defendant APRIL VEACH is hereby reset to @_,L, 2005, at gm

DONE at Mernphis, Tennessee, this d day o

 
    

APPROVED:
T ornas A. Colthurst
Assistant U.S. Attorney

Thts document entered on the docket sheet in ¢r_)‘rjp!iance
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This notice confirms a copy of the document docketed as number 109 in
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Honorable Bernice Donald
US DISTRICT COURT

